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 8
                         UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          Case No. 1:16-cr-00093-LJO-SKO

12                  Plaintiff,                          ORDER ADOPTING FINDINGS AND
                                                        RECOMMENDATIONS
13          v.
                                                        (ECF No. 69)
14   FIDEL VASQUEZ-VELASQUEZ,

15                  Defendant.

16

17          On June 17, 2016, Defendant Fidel Vasquez-Velasquez (hereafter Defendant) made an

18 initial appearance on a criminal complaint charging him with conspiracy to transfer, possess, and

19 sell false identification documents; transfer or attempted transfer of false identification
20 documents; fraud and misuse of visas and related documents; and possession of document

21 making implements. (ECF No. 1, 8.) On June 23, 2016, a detention hearing was held; and

22 Plaintiff was ordered released pursuant to an order setting conditions of release which included

23 an appearance bond secured by sureties Elia G. Banuelos and Liliana Moreno Velazquez. (ECF

24 Nos. 45, 48, 49.) On July 22, 2016, a pretrial release violation petition was filed; and an arrest

25 warrant issued for Fidel Vasquez-Velasquez after he did not return to his residence as required

26 by the conditions of his pretrial release. (Id.) On August 19, 2016 hearing a bond forfeiture
27 hearing was held. (ECF No. 66.)

28          On August 24, 2016, the Magistrate Judge filed a findings and recommendations


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 1 recommending forfeiture of the bond. The findings and recommendations was served on the

 2 parties and contained notice that any objections to the findings and recommendations were to be

 3 filed within fourteen days (14) days from the date of service. The period for filing objections has

 4 passed and no objections have been filed.

 5         In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this Court has conducted

 6 a de novo review of this case. Having carefully reviewed the entire file, the Court finds the

 7 findings and recommendations to be supported by the record and by proper analysis.

 8         Accordingly, IT IS HEREBY ORDERED that:

 9         1.      The findings and recommendations, filed August 24, 2016, is ADOPTED IN

10                 FULL; and

11         2.      Defendant Fidel Vasquez-Velasquez’ $4,000.00 bond is FORFEITED for his failure

12                 to comply with his conditions of pretrial release.

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     IT IS SO ORDERED.
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15      Dated:    October 6, 2016                           /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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